The statutory restraint on the parties' right to contract and this court's affirmance of the legislative overreaching require my dissent.
In this case, the parties agreed on the payment of child support until age eighteen or emancipation, whichever occurred first. It was not an agreement to support the child until nineteen or twenty years of age. The majority finds that the legislative enactment of R.C. 3109.05(E) and the amendment in 1992 to R.C.3103.03 precludes parents from determining their child support obligations by a contract executed as part of a dissolution proceeding.
It is my belief that the parties' privilege or right to contract in such case should permit great latitude in matters of child support — sufficient latitude to agree to zero child support or to child support for the child's lifetime. The only limitation on the parties' agreement would be that the agreement serve the child's best interest.
I believe the legislative enactment should be revisited by the legislature and the courts.